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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—
                                      GENERAL

 Case No.         5:23-cv-02441-SSS-SPx                                Date January 15, 2025
 Title       Daniel Martinez v. Chaffey Community College District, et al.



 Present: The Honorable            SUNSHINE S. SYKES, UNITED STATES DISTRICT JUDGE


                   Irene Vazquez                                        Not Reported
                   Deputy Clerk                                        Court Reporter


     Attorney(s) Present for Plaintiff(s):                  Attorney(s) Present for Defendant(s):
                   None Present                                         None Present

 Proceedings: (IN CHAMBERS) ORDER STRIKING THE AMENDED
              COMPLAINTS [DKT. 52, 53]


       The Court is in receipt of Plaintiff Daniel Martinez’s Third Amended
Complaint [Dkt. 52] and Amended Document [Dkt. 53] both filed on December
27, 2024. The Court notes that the two documents are virtually identical to each
other and to the Third Amended Complaint (“TAC”) filed on November 21, 2024.
[Dkt. 40].

      More importantly, these documents were improperly filed without the
opposing party’s written consent or the Court’s leave. Fed. R. Civ. P. 15(a).1


         1
        (1) Amending as a Matter of Course. A party may amend its pleading once as a matter of
course within:
         (A) 21 days after serving it, or
         (B) if the pleading is one to which a responsive pleading is required, 21 days after service
of a responsive pleading or 21 days after service of a motion under Rule 12(b), (e), or (f), whichever
is earlier.
(continued . . . )
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Plaintiff’s First Amended Complaint was filed as a matter of course in response to
Defendant’s Motion to Dismiss. [Dkt. 23]. Plaintiff’s Second Amended
Complaint was filed pursuant to the joint stipulation between the parties. [Dkt. 27,
29]. Finally, Plaintiff’s Third Amended Complaint was filed pursuant to the
Court’s leave granted in the Order Granting, in Part and Denying, in Part,
Defendant’s Motion to Dismiss. [Dkt. 39]. At this stage, Plaintiff has exhausted
his right to amend as a matter of course and these subsequent amended complaints
were improperly filed. See Fed. R. Civ. P. 15 supra.

       As such, the Court finds that the Third Amended Complaint [Dkt. 52] and
Amended Document [Dkt. 53] from December 27, 2024, are STRICKEN as
improper and the Court construes the TAC as the operative complaint in this
action. [Dkt. 40].

        IT IS SO ORDERED.




        (2) Other Amendments. In all other cases, a party may amend its pleading only with the
opposing party’s written consent or the court's leave. The court should freely give leave when
justice so requires.

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